       Case 2:05-cr-00343-KJM Document 61 Filed 04/26/07 Page 1 of 3

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 2   801 South Figueroa Street, 11 Floor
     Los Angeles, California 90017
 3   Tel: (213) 688-0460 /Fax: (213) 624-1942
 4   Attorneys for Defendant
     Roza Gasparian
 5

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 7

 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10

11   THE UNITED STATES OF           )             CASE NO. 05 CR 00343 FCD
     AMERICA,                       )
12                                  )             STIPULATION AND ORDER TO
               Plaintiff,           )             CONTINUE CHANGE OF PLEA
13                                  )             HEARING DATE
          v.                        )
14                                  )
     MANUK SHUKBARALYAN, et. al. )                Date: April 30, 2007
15                                  )             Time: 10:00 a.m.
                                    )
16             Defendant.           )
                                    )
17   ______________________________ )
18

19   TO THE HONORABLE FRANK D. DAMRELL, Jr., UNITED STATES
     DISTRICT JUDGE AND TO ASSISTANT UNITED STATES ATTORNEY
20   STEVEN LAPHAM:
21         Defendant, Roza Gasparian, by and through her counsel of record, the Law
22   Offices Of Mark J. Werksman, Defendant, Manuk Shukbaralyan, by and through
23   his counsel of record, Jilbert Tahmazian, Defendant, Yurik Shakhbazyan, by and
24   through his counsel of record, Fred G. Minassian, and the United States of
25   America, by and through Assistant United States Attorney Steven Lapham hereby
26   agree and stipulate that the Change of Plea Hearing set for April 30, 2007 at 10:00
27   a.m. in Courtroom 2 (FCD) before Judge Frank C. Damrell Jr. be continued to
28   July 9, 2007at 10:00 a.m.


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       Case 2:05-cr-00343-KJM Document 61 Filed 04/26/07 Page 2 of 3

 1         The continuance is necessary because the Assistant United States Attorney
 2   will shortly be providing all counsel a written plea agreement. Defense counsel
 3   needs time to review the agreements and work with their clients to ascertain the
 4   amount of loss attributable to each defendant.
 5         IT IS SO STIPULATED
 6         The parties agree and stipulate that defendant’s Change of Plea hearing
 7   currently set for April 30, 2007, be continued until July 9, 2007 at 10:00 a.m., or
 8   such other date as is available for the Court.
 9         Defendant’s counsel has discussed the proposed continuance with
10   defendant who concurs with this request and the reasons stated therefore.
11         IT IS FURTHER STIPULATED
12         1.     The Speedy Trial Act of 1974, 18 U.S.C. §3161 et seq., originally
13                required that the status conference for this matter commence on or
14                before September 25, 2006.
15         2.     For the purpose of computing time under the Speedy Trial Act, 18
16                U.S.C. §3161 et seq., within which the status conference must
17                commence, the time period of April 30, 2007 to July 9, 2007,
18                inclusive, is deemed excludable pursuant to 18 U.S.C. §316(h)(1)(D)
19                [Local Code C].
20         3.     Pursuant to 18 U.S.C. §3161(h)(1)(F), any delay that results from any
21                pretrial motion, from the time of the filing of this stipulation is
22                automatically excludable from the Speedy Trial Act time limitations.
23         IT IS SO STIPULATED.
24

25   Dated: April ___, 2007                  Respectfully Submitted,
26

27                                    By: ___________________________
                                            Mark J. Werksman
28                                          Attorneys for Defendant
                                            Roza Gasparian

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       Case 2:05-cr-00343-KJM Document 61 Filed 04/26/07 Page 3 of 3

 1

 2   Dated: April ___, 2007                  United States Attorney
                                             McGregor W. Scott
 3

 4
                                      By:_______________________________
 5                                         Steven Lapham
                                           Assistant United States Attorney
 6

 7

 8   Dated: April ___, 2007                  Law Offices of Jilbert Tahmazian
 9

10                                    By:
                                             Jilbert Tahmazian, Esq.
11                                           Attorneys for Defendant
                                             Manuk Shukbaralyan
12

13
     Dated: April ___, 2007                  Minassian & Bagndaian
14

15
                                      By:
16                                           Fred G. Minassian, Esq.
                                             Attorneys for Defendant
17                                           Yurik Shakhbazyan
18

19                                          ORDER
20

21         THE COURT HEREBY continues the Change of Plea Hearing
22   in this matter currently set for April 30, 2007, at 10:00 a.m. to
23   July 9, 2007, at 10:00 a.m. Pursuant to this stipulation time shall be excluded to
24   and including July 9, 2007.
25
           IT IS SO ORDERED
26
     Dated: April 25, 2007
27                                        _______________________________________
                                          FRANK C. DAMRELL, JR.
28                                        UNITED STATES DISTRICT JUDGE



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